           Case 5:14-cv-00665-F Document 337-1 Filed 07/28/20 Page 1 of 1



                                           EXHIBIT 1


                                         Glossip dates

 Plaintiffs’ preliminary witness list
 Defendants’ preliminary witness list
 Discovery cutoff except for expert witnesses
 Plaintiffs’ preliminary exhibit list
 Defendants’ preliminary exhibit list
 Plaintiffs’ expert reports
 Defendants’ expert reports
 Depositions of plaintiffs’ experts not later than
 Depositions of defendants’ experts not later than
 Plaintiffs’ final witness and exhibit lists
 Defendants’ final witness and exhibit lists
 Dispositive motions
 Trial briefs
 Proposed FoF and CoL
 Trial




14-0665x027 Glossip dates.docx
